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 1   RCO Legal, P.S.,
     Jason Kolbe, SBN 11624
 2   2520 St. Rose Parkway, Suite 106
     Henderson, NV 89074
 3   Phone: 702-854-9965
     Fax: 425-974-8665
 4   Email: jkolbe@rcolegal.com
     RCO File No. 232169
 5   Attorneys for Movant
     Pingora Loan Servicing, LLC
 6
                               UNITED STATES BANKRUPTCY COURT
 7                                FOR THE DISTRICT OF NEVADA

 8   In re:
                                                         Case: 16-16106-btb
 9   Anastasia Karamanides,                              Chapter 7

10                                                       MOTION FOR RELIEF FROM
                                                         AUTOMATIC STAY (REAL PROPERTY)
11
                                        Debtor.          Hearing Date: January 23, 2017
12                                                       Hearing Time: 10:00 AM
13

14
              Pingora Loan Servicing, LLC (“Movant”) hereby moves this Court, as to the Debtor and
15
     the Trustee pursuant to 11 U.S.C. § 362, for relief from the automatic stay with respect to certain
16

17   real property of the Debtor having an address of 2722 Port Lewis Avenue, Henderson, NV 89052

18   (the “Property”). In further support of this Motion, Movant respectfully states:

19            1.     A petition under Chapter 7 of the United States Bankruptcy Code was filed with
20 respect to the Debtor on November 15, 2016.
21
              2.     The Debtor executed and delivered that certain promissory note in the original
22
     principal amount of $279,837.00 (the “Note”). A true and correct copy of the Note is attached
23
     hereto as Exhibit A. Movant is an entity entitled to enforce the Note.
24
25            3.     Pursuant to that certain title of Deed of Trust (the “Deed of Trust”), all obligations

26 (collectively, the “Obligations”) of the Debtor under the Note and the Deed of Trust with respect

27 to the Loan are secured by the Property. A true and correct copy of the Deed of Trust is attached

28
     hereto as Exhibit B.



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 1          4.       All rights and remedies under the Deed of Trust have been assigned to the Movant
 2 pursuant to that certain Assignment of Deed of Trust. A true and correct copy of the Assignment

 3
     of Deed of Trust is attached hereto as Exhibit C.
 4
            5.       As of December 1, 2016, the outstanding Obligations are:
 5
          Unpaid Principal Balance                       $272,273.48
 6
          Unpaid, Accrued Interest                       $10,607.30
 7        Costs/Late Fees/Escrow Advance                 $6,704.68
          Less: Partial Payments                         ($0)
 8        Minimum Outstanding Obligations                $289,585.46
 9          6.       In addition to the other amounts due to Movant reflected in this Motion, as of the
10
     date hereof, in connection with seeking the relief requested in this Motion, Movant has also
11
     incurred $931.00 in legal fees and costs. Movant reserves all rights to seek an award or allowance
12
     of such fees and costs in accordance with applicable loan documents and related agreements, the
13

14 Bankruptcy Code and otherwise applicable law.

15          7.       The following chart sets forth the number and amount of payments due pursuant

16 to the terms of the Note that have been missed by the Debtor:

17
     Number of              From               To                 Monthly             Total Amounts
18   Missed                                                       Payment             Delinquent
     Payments                                                     Amount
19
     11                     February 1, 2016   December 1,        $1,918.11           $21,099.21
20
                                               2016
21
                                                                               Less partial payments: $0
22                                                                                    Total: $21,099.21
23

24          8.       The fair market value of the Property is $320,071.00. The basis for such

25 valuation is Zillow.com. A true and correct copy of the relevant page of Zillow.com is attached

26
     hereto as Exhibit D.
27

28



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             Case 16-16106-btb           Doc 20     Entered 12/15/16 09:01:21        Page 4 of 34


 1          9.          Upon information and belief, the aggregate amount of encumbrances on the
 2 Property listed in the Schedules or otherwise known, including but not limited to the

 3
     encumbrances granted to Movant, is $289,585.46.
 4
            10.         Cause exists for relief from the automatic stay for the following reasons:
 5
                  (a)      Movant’s interest in the Property is not adequately protected. Movant’s
 6

 7   interest in the collateral is not protected by an adequate equity cushion.

 8                (b)      Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has insufficient equity in the

 9   Property; and pursuant to § 362(d)(2)(B), the Property is not necessary for an effective
10   reorganization.
11
            WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the
12
     stay and granting the following:
13
            1.          Relief from the stay, as to the Debtor and the Trustee allowing Movant (and any
14

15   successors or assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to

16   foreclose upon and obtain possession of the Property.

17          2.          That the Order be binding and effective despite any conversion of this bankruptcy
18
     case to a case under any other chapter of Title 11 of the United States Code.
19
            3.          That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
20
            4.          That Movant may stop filing and serving Notices of Payment Change and/or
21

22   Notices of Post-Petition Fees, Expenses and Charges as required by FRBP 3002.1(b) and FRBP

23   3002.1(c) upon entry of an Order Granting the Motion for Relief from Stay; and

24
25

26

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 1   5.    For such other relief as the Court deems proper.
 2   DATED this ___ day of ______2016.
 3
                                 RCO LEGAL, P.S.
 4
                                 By:
 5                               Jason Kolbe Bar No. 11624
                                 2520 St. Rose Parkway, Suite 106
 6                               Henderson, NV 89074
 7                               Tel: 702-854-9965
                                 jkolbe@rcolegal.com
 8

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 1   RCO Legal, P.S.,
     Jason Kolbe, SBN 11624
 2   2520 St. Rose Parkway, Suite 106
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 3   Phone: 702-854-9965
     Fax: 425-974-8665
 4   Email: jkolbe@rcolegal.com
     RCO File No. 232169
 5   Attorneys for Movant
     Pingora Loan Servicing, LLC
 6
                               UNITED STATES BANKRUPTCY COURT
 7                                    DISTRICT OF NEVADA

 8   In re:
                                                        Case: 16-16106-btb
 9   Anastasia Karamanides,                             Chapter 7

10                                                      NOTICE OF HEARING ON MOTION
                                                        FOR RELIEF FROM AUTOMATIC STAY
11
                                           Debtor.
                                                        Hearing Date: January 23, 2017
12                                                      Hearing Time: 10:00 AM
13

14          NOTICE IS HEREBY GIVEN that a MOTION FOR RELIEF FROM AUTOMATIC
     STAY was filed on __________ by Jason Kolbe, Esq. The Motion seeks the following relief:
15   An Order terminating the automatic stay, to allow Movant to proceed with foreclosure of the
     subject real property located at 2722 Port Lewis Avenue, Henderson, NV 89052. Any
16   opposition must be filed pursuant to Local Rule 9014(d)(1).
17
             NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
18   sought in the Motion, or if you want the court to consider your views on the Motion, then you
     must file an opposition with the court, and serve a copy on the person making the Motion no
19   later than 14 days prior to the Hearing on the Motion, unless an exception applies (see Local
     Rule 9014(d)(3)). The opposition must state your position, set forth all relevant facts and legal
20
     authority, and be supported by affidavits or declarations that conform to Local Rule 9014(c).
21
              If you object to the relief requested, you must file a written response to this
22            pleading with the court. You must also serve your written response on the
              person who sent you this notice.
23
              If you do not file a written response with the court, or if you do not serve your
24
              written response on the person who sent you this notice then:
25
                - The court may refuse to allow you to speak at the scheduled hearing, and
26              - The court may rule against you without formally calling the matter at the
              hearing.
27

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 1          NOTICE IS FURTHER GIVEN that the hearing on the said Motion will be held before
     a United States Bankruptcy Judge, in the above-referenced Court located at 300 Las Vegas
 2   Boulevard South, Las Vegas, NV 89101-5813 on January 23, 2017 at the hour of 10:00 AM
 3
           DATED this ___ day of ______ 2016.
 4

 5                                     RCO LEGAL, P.S.
 6

 7                                     By:
                                       Jason Kolbe Bar No. 11624
 8                                     2520 St. Rose Parkway, Suite 106
                                       Henderson, NV 89074
 9                                     Tel: 702-854-9965
                                       jkolbe@rcolegal.com
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 6
     RCO Legal, P.S.,
 7   Jason Kolbe, SBN 11624
     2520 St. Rose Parkway, Suite 106
 8   Henderson, NV 89074
     Phone: 702-854-9965
 9   Fax: 425-974-8665
     Email: jkolbe@rcolegal.com
10   RCO File No. 232169
     Attorneys for Movant
11   Pingora Loan Servicing, LLC

12                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
13
     In re:
14                                                    Case: 16-16106-btb
                                                      Chapter 7
15   Anastasia Karamanides,
                                                      [PROPOSED] ORDER GRANTING
16                                                    MOTION FOR RELIEF FROM
17                                                    AUTOMATIC STAY (REAL PROPERTY)

18                                                    Hearing Date: January 23, 2017
                                      Debtor.
                                                      Hearing Time: 10:00 AM
19

20
21            The Motion for Relief from Automatic Stay of Pingora Loan Servicing, LLC, its

22   successors and/or assigns (“Movant”) came on regularly for hearing before the Court,
23   appearances as noted on the record.
24
              The Court having read and considered the moving papers, having determined that the
25
     moving papers were properly served, being fully advised, and good cause appearing:
26
              IT IS HEREBY ORDERED ADJUDGED AND DECREED that Movant’s Motion for
27

28   Relief from Automatic Stay is GRANTED. The automatic stay of 11 U.S. C. § 362(a) is

     terminated as to the Debtor and the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 362(d)(1)

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 1   and/or § 362(d)(2) as to the collateral commonly known as 2722 Port Lewis Avenue, Henderson,
 2   NV 89052 (“Property”) and legally described in the attached Exhibit “A” to allow Movant (and
 3
     any successors or assigns) to proceed under applicable non-bankruptcy law to enforce its
 4
     remedies to foreclose upon and obtain possession of the Property.
 5
            IT IS FURTHER ORDERED the 14-day period specified in Fed.R.Bankr.P. 4001(a)(3) is
 6

 7   waived. This Order shall be binding and effective despite any conversion of the bankruptcy case

 8   to any other chapter under Title 11 of the United States Code.

 9          IT IS FURTHER ORDERED that Movant is exempt from further compliance with Fed.
10   Bankr. Rule P. 3002.1.
11
                                          SUBMITTED BY:
12

13                                        By:
                                          Jason Kolbe Bar No. 11624
14
                                          2520 St. Rose Parkway, Suite 106
15                                        Henderson, NV 89074
                                          Tel: 702-854-9965
16                                        jkolbe@rcolegal.com

17

18
                                     RULE 9021 CERTIFICATION
19
            In accordance with LR 9021, counsel submitting this document certifies that the order
20   accurately reflects the Court’s ruling and that (check one):
21          ___ The court has waived the requirement set forth in LR 9021(b)(1).
22
            ____No party appeared at the hearing or filed an objection to the motion.
23
              ____ I have delivered a copy of this proposed order to all counsel who appeared at the
24   hearing, and each has approved or disapproved the order, or failed to respond, as indicated below
     [list each party and whether the party has approved, disapproved, or failed to respond to the
25   document]:
26
            Counsel appearing:
27          Unrepresented parties appearing: None
            Trustee: No Appearance at Hearing; No additional Service required.
28



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 1          ____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
     order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
 2   content of the order.
 3
                                                     ###
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                             EXHIBIT A
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                             EXHIBIT A
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 1                                        PROOF OF SERVICE
 2           I hereby certify that I am an employee of RCO Legal, P.S., whose business address is
 3   2520 St. Rose Parkway, Suite 106, Henderson, NV 89074. I am over the age of eighteen (18) and
     not a party to the within action.
 4
             On the date stated below, pursuant to Federal Rules of Civil Procedure and Local Rules, I
 5   served the documents described as: 362 MOTION FOR RELIEF COVER SHEET, MOTION
     FOR RELIEF FROM AUTOMATIC STAY, NOTICE OF HEARING ON MOTION FOR
 6   RELIEF FROM AUTOMATIC STAY, EXHIBITS and ORDER [PROPOSED], on interested
 7   parties either by placing a true and correct copy thereof in a sealed envelope with first class
     postage thereon fully prepaid in the United States Mail at Henderson, Nevada or by CM/ECF
 8   system as indicated below:

 9             a. ECF System
     Chapter 7 Trustee
10   Lenard E. Schwartzer                                 (Other parties)
     2850 South Jones Blvd, Suite 1                       PRA Receivables Management, LLC
11                                                        PO BOX 41021
     Las Vegas, NV 89146-5308
12   trustee@s-mlaw.com                                   Norfolk, VA 23541
                                                          claims@recoverycorp.com
13   United States Trustee
     US Trustee - LV - 7                                  Santander Consumer Inc. dba Chrysler
14   300 Las Vegas Boulevard, S. /Suite 4300              Capital
     Las Vegas, NV 89101                                  C/O Santin & McLeran, PLC
15   USTPRegion17.LV.ECF@usdoj.gov                        James B. Ball
16                                                        400 South 4th Street, Suite 500
                                                          Las Vegas, NV 89101
17                                                        ball@bsmplc.com

18          b. United States mail, postage fully prepaid
     Debtor
19   Anastasia Karamanides
20   2722 Port Lewis Avenue
     Henderson, NV 89052
21
     (Other parties)
22   BMW Bank of North America
     c/o Ascension Capital Group
23   PO BOX 165028
     Irving, TX 75016
24
25   I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
26
            DATED this ____ day of December, 2016.
27
                                                          By: ___________________________
28                                                        Esequiel Valerio



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                             EXHIBIT C
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                             EXHIBIT E
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